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  ■t-f Alrl    /V\r,       l\il[&x oJycd '~h^ ihuJt-T^ Cdih k/e
            (^ ':f3-icf r ih.                           \Mn^                hA^,
      ih^ (/) k-An h- ht^                                      ^
   <Ayyj^v^ P/)n 4w V                           At/ ILu\a\kJ^ /Av.
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   .Dn/iiVj "41/ '®W'2^' p^ioj u-^j^ /VI/) l^lUf ^
   i{>/i(^J I ps.^    lyu j u did ivd iM^
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   r (u^ iMvp^yf d" t^~M         ^ A^ ■
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W\'^ /ui/(               /nm^ oJ:i.y^ />m Mlm
       (?/nl/)^ /)y      k<hv%^ d' /)kai))ik^ ■ l^ AaV^
 ^ Ad i^mi /iV/ /mpf^/ (J                    ^h^hayijKuJ
     ^11 ^E-wyoyt-e i/^k^ iA-e^ }\^p£n\^f^ . iJl a'd
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   jl^ /     rTU)hol/                              /uA/i^    ■
    ko^ ^ryAfhdd'^ A17 Lc^h^%                       .
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   M' )^ aJh'hc^iy^ H ^ydh-            ^ ^ i^/U(At^
    ^          ^ ci^ch^ .                 ciMMy'PoJ^jy^ h/(S\Ai'0^^
    eyTi^^jk^M^ ^ jJ i/^k .M^^n^i pdi'^tad "7^ ^Iw-AAjd
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     Vvcm        Oha-Y^                                tfr^p^LfrA( /K V
     ftr                 ^ ylf                   "5^               ^ cdjLfnj^
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    \ h^cj ^                              ^ iWfvdo^             -io /i^ .
    I U]dr           dir^ hmrl       ^ Pi/       f<JjK&P
    pi/H Ihi^ Mn                        di^OC CaJUU^ fr\Ji
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        twJ                          (>r\M LJ ■j-n'-^
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     PI     /[JuMJ. &Ujn pju^ ^ Ou^iaa^a^ , U^
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                    C(/yj(:zc^A>K^ A/^:^ I hn^ /                  • dt /W^
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           cLshpAl^i^ ^ /)^hnp^'^ ^                     hr\y^ fv-n^ ,




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               ^                                 ^ vjo^ W^ -Vws -suv-v-
      'TV                        wvW     tv      Vj^eVv> 1 rs^puiU
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